                                                                   (SPACE BELOW FOR FILING STAMP ONLY)
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 1           MARK W. COLEMAN #117306
            NUTTALL COLEMAN & WILSON
 2               2445 CAPITOL STREET, SUITE 150
                       FRESNO, CA 93721
 3                    PHONE (559) 233-2900
                       FAX (559) 485-3852
 4
 5         ATTORNEYS FOR   Defendant,
                           AUGUSTINE REYNA
 6
 7
                                   UNITED STATES DISTRICT COURT
 8
                                  EASTERN DISTRICT OF CALIFORNIA
 9
                                                  ******
10
      UNITED STATES OF AMERICA,                        Case No.:       CR-F-10-00173-AWI-3
11
                     Plaintiff,
12                                                           STIPULATION TO CONTINUE
               vs.                                                 SENTENCING
13                                                                     AND
      AUGUSTINE REYNA, et al.
14                                                                   ORDER
                     Defendant.
15                                                     DATE: February 27, 2012
                                                       TIME: 11:00
16                                                     DEPT: 2

17            IT IS HEREBY STIPULATED and agreed by and between attorneys for the respective
18   clients that the Sentencing hearing currently on calendar for January 23, 2012, at 9:00 a.m., be
19   continued to February 27, 2012, at 9:00 a.m., or as soon thereafter as is convenient to the court’s
20   calendar.
21            IT IS FURTHER STIPULATED that the deadlines for filing informal and formal
22   objections to the Pre-Sentence Investigation Report be scheduled as follows:
23                   Informal Objections to be served on or before February 3, 2012
24                   Formal Objections to be filed on or before February 17, 2012
25            This continuance is requested by counsel for Defendant, AUGUSTINE REYNA, due to the
26   fact that counsel needs additional time to file informal and formal objections to the Pre-sentence
27   Investigation Report.
28   ///
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 1          Counsel needs additional time to file objections to the report due to the fact that he has not
 2   had a chance to meet with Defendant, AUGUSTINE REYNA, to review the report. Mr. Reyna is
 3   housed in Lerdo and the first available date to have him brought up to Fresno was January 11, 2011.
 4   Unfortunately, counsel is scheduled to be out of the office that day, and will not be able to meet with
 5   Defendant until January 18, 2011.
 6          Counsel for Defendant has spoken with Assistant U. S. Attorney, KAREN ESCOBAR, who
 7   has no objection to this continuance.
 8   DATED: January 5, 2012.                 NUTTALL COLEMAN & WILSON
 9                                           /s/ Mark W. Coleman
10                                           ________________________
                                             MARK W. COLEMAN
11                                           Attorneys for Defendant
12   DATED: January 5, 2012.                 UNITED STATES ATTORNEYS OFFICE
13                                           /s/ Karen Escobar
14                                           __________________________
                                             KAREN ESCOBAR
15
                                                 *******
16
                                                  ORDER
17
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     IT IS SO ORDERED.
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21   Dated:             January 5, 2012
     0m8i78                           CHIEF UNITED STATES DISTRICT JUDGE
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